Filed 8/26/24 P. v. Lemus CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                                DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                        G063044

           v.                                                           (Super. Ct. No. 98NF1488)

 BENJAMIN ROMERO LEMUS,                                                 OPINION

       Defendant and Appellant.



                   Appeal from a postjudgment order of the Superior Court of
Orange County, Jonathan S. Fish, Judge. Affirmed.
                   Aurora Elizabeth Bewicke, under appointment by the Court of
Appeal, for Defendant and Appellant.
                   No appearance for Plaintiff and Respondent.
                                            *                *                *
            A jury convicted defendant Benjamin Romero Lemus of one count
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of first degree murder (Pen. Code, § 187; count 1), one count of carrying a
firearm in public while an active participant in a street gang (former § 12031,
subd. (a)(2)(C); count 2), and one count of street terrorism (§ 186.22, subd. (a);
count 3). As to count 1, the jury found true that defendant committed the
murder by shooting from a motor vehicle with the intent to kill (§ 190.2, subd.
(a)(21)) and that he personally used and discharged a firearm in the
commission of the murder (§§ 12022.5, subd. (a), 12022.53, subd. (d)). The
jury also found true allegations that counts 1 and 2 were committed for the
benefit of or to promote a criminal street gang. (§ 186.22, subd. (b).)
            The court sentenced defendant to life in prison without the
possibility of parole for the first degree murder conviction plus a consecutive
term of 25 years to life for the firearm enhancement. In 2002, another panel
of this court affirmed the judgment. (People v. Lemus (July 31, 2002,
G027219) [nonpub. opn.].) In May 2023, defendant filed a petition for
resentencing under former section 1170.95 (now § 1172.6).2
            The trial court summarily denied the petition, and defendant
timely filed a notice of appeal. Appointed counsel indicates she has found no
arguable issues but requests we exercise our discretion to independently
review the record. Consistent with Anders v. California (1967) 386 U.S. 738,
appointed counsel identified one issue to assist in our independent review:
whether certain aiding and abetting language contained in the gang crime
jury instructions allowed the jury to convict defendant on a theory of imputed


            1
                All further statutory references are to the Penal Code.

            2
             Effective June 30, 2022, section 1170.95 was renumbered
section 1172.6, with no change in text (Stats. 2022, ch. 58, § 10).

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malice. Defendant was given the opportunity to file written argument on his
own behalf, and he has done so. (People v. Delgadillo (2022) 14 Cal.5th 216,
231-232.)
            We have examined the entire record and have not found an
arguable issue on appeal. Accordingly, we affirm the postjudgment order.


                                    FACTS
            In May 2023, defendant filed a petition for resentencing and
averred: “1. A complaint, information, or indictment was filed against me
that allowed the prosecution to proceed under a theory of felony murder,
murder under the natural and probable consequences doctrine or other
theory under which malice is imputed to a person based solely on that
person’s participation in a crime, or attempted murder under the natural and
probable consequences doctrine. [Citation.] [¶] 2. I was convicted of murder,
attempted murder, or manslaughter following a trial or I accepted a plea offer
in lieu of a trial at which I could have been convicted of murder or attempted
murder. [Citation.] [¶] 3. I could not presently be convicted of murder or
attempted murder because of changes made to [sections] 188 and 189,
effective January 1, 2019.”
            The court appointed counsel for defendant and received
additional briefing from the prosecution and defendant. Defendant argued
the jury instructions delivered under CALJIC No. 8.11 (malice aforethought)
and CALJIC No. 6.50 (gang crime) allowed the jury to convict him under a
theory of implied malice.
            In a statement of decision, the court held defendant was
ineligible for relief on count 1 because the jury instructions “did not include
any instruction upon which a derivative theory of liability for murder could

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be reached.” Instead, the court noted the instructions required the jury to
find malice aforethought to convict defendant of first degree murder.


                                  DISCUSSION
             Relief under section 1172.6 is restricted to those convicted of
murder “under a theory of felony murder, murder under the natural and
probable consequences doctrine or other theory under which malice is
imputed to a person based solely on that person’s participation in a
crime . . . .” (Id., subd. (a)(1).) “A petitioner is ineligible for resentencing as a
matter of law if the record of conviction conclusively establishes, with no
factfinding, weighing of evidence, or credibility determinations, that (1) the
petitioner was the actual killer, or (2) the petitioner was not the actual killer,
but, with the intent to kill, aided, abetted, counseled, commanded, induced,
solicited, requested, or assisted the actual killer in the commission of murder
in the first degree, (3) the petitioner was a major participant in the
underlying felony and acted with reckless indifference to human life, or (4)
the petitioner acted with malice aforethought that was not imputed based
solely on participation in a crime.” (People v. Lopez (2022) 78 Cal.App.5th 1,
14.)
             In determining whether the petitioner has made a prima facie
case for relief under section 1172.6, the trial court may rely on the record of
conviction. (People v. Lewis (2021) 11 Cal.5th 952, 970-971.) The record of
conviction includes the court’s own documents, including the trial evidence,
the jury instructions, and closing arguments of counsel. (People v. Lopez,
supra, 78 Cal.App.5th at p. 13.) As our Supreme Court explained, “The
record of conviction will necessarily inform the trial court’s prima facie



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inquiry . . . allowing the court to distinguish petitions with potential merit
from those that are clearly meritless.” (Lewis, at p. 971.)
             Here, the information charged defendant as the actual killer.
Among other things, the information alleged defendant “did willfully,
unlawfully and with malice aforethought murder [the victim].” It further
alleged defendant did so intentionally and “by means of discharging a firearm
from a motor vehicle, intentionally at another person or persons outside of
the vehicle with the intent to inflict death . . . .”
             The jury was instructed under, inter alia, CALJIC Nos 8.00
(homicide), 8.10 (murder), 8.11 (malice aforethought), 8.20 (deliberate and
premeditated murder), 8.25.1 (drive-by murder), 8.80.1 (special
circumstances—introductory), and 8.81.21 (special circumstances—
intentional discharge of a firearm from a motor vehicle). CALJIC No. 8.10
instructed the jury that murder requires the mental state of malice
aforethought. The jury also was instructed it could reach first degree murder
if it found there was: (1) a deliberate and premeditated murder (CALJIC No.
8.20), or (2) a drive-by murder (CALJIC No. 8.25.1). Both of those theories
required proof of intent to kill, and the jury ultimately convicted defendant of
first degree murder. We further note the court did not instruct on the felony-
murder theory, the natural and probable consequences doctrine, accomplice
liability as a major participant with reckless indifference to human life, or
any other theory where malice was imputed based solely on defendant’s
participation in a crime. The record accordingly demonstrates defendant is
ineligible for relief.
             As noted ante, appointed counsel questions whether certain
aiding and abetting language contained in CALJIC No. 6.50 (gang crime)
allowed the jury to convict defendant on a theory of imputed malice. In his

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supplemental brief, defendant similarly contends the jury may have
convicted him on a theory of imputed malice because the jury was given an
“incorrect instruction on implied malice” under CALJIC No. 8.11 along with
aiding and abetting instructions contained in CALJIC No. 6.50. We find no
error in the CALJIC No. 8.11 instructions. CALJIC No. 8.11 defined express
malice as “an intention unlawfully to kill a human being.” The instruction
further stated malice is implied when “1. The killing resulted from an
intentional act, [¶] 2. The natural consequences of the act are dangerous to
human life, and [¶] 3. The act was deliberately performed with knowledge of
the danger to, and with conscious disregard for, human life.” (Italics added.)
The instructions did not allow implied malice to be imputed solely from the
natural consequences of the act because it required a mental component—
knowledge of the danger to and conscious disregard for human life.
            As to CALJIC No. 6.50, that instruction applied to defendant’s
street terrorism conviction. As given, CALJIC No. 6.50 provided, in pertinent
part: “Every person who actively participates in any criminal street gang
with knowledge that the members are engaging in or have engaged in a
pattern of criminal gang activity, and who willfully promotes, furthers, or
assists in any felonious criminal conduct by members of that gang, is guilty of
a violation of . . . section 186.22(a), a crime.” The final paragraph of CALJIC
No. 6.50 stated: “In order to prove this crime, each of the following elements
must be proved: [¶] 1. A person actively participated in a criminal street
gang; [¶] 2. The members of that gang engaged in or have engaged in a
pattern of criminal gang activity; [¶] 3. That person knew that the gang
members engaged in or have engaged in a pattern of criminal gang activity;
and [¶] 4. That person aided and abetted member[s] of that gang in
committing the crime of . . . murder.” (Italics added.) The latter reference to

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aiding and abetting is the only reference to aiding and abetting in the jury
instructions. There is no reasonable probability the jury relied on this
language and improperly combined it with CALJIC No. 8.11 as defendant
suggests because the only theory presented to the jury was that defendant
was the actual perpetrator.
              People v. Langi (2022) 73 Cal.App.5th 972, 975 (Langi), which
defendant cites, is distinguishable. In Langi, the defendant was convicted of
implied malice murder for aiding and abetting a group beating that caused
the victim’s death. (Langi, at pp. 975, 983-984.) The jury was instructed on
implied malice murder (CALJIC No. 8.31) and aiding and abetting (CALJIC
No. 3.01). (Langi, at p. 981.) Given those instructions, the court held the
jury could have found the defendant guilty of aiding and abetting a second
degree murder on a theory of imputed malice, which entitled him to an
evidentiary hearing under section 1172.6. (Langi, at pp. 983-984.) The jury
in the instant case, unlike the jury in Langi, was not provided with similar
aiding and abetting instructions. The only aiding and abetting language
appeared in CALJIC No. 6.50, which applied to defendant’s street terrorism
conviction.
              Defendant next argues the jury’s true findings on the firearm
enhancements do not render him ineligible for relief. The trial court did not
rely on the firearm enhancements to deny defendant’s petition. We likewise
need not address the jury’s true findings on the firearm enhancements
because defendant is ineligible for relief on other grounds.
              Finally, defendant claims the special circumstance instructions
for intentional discharge of a firearm from a motor vehicle (CALJIC No.
8.81.21) did not specifically refer to defendant and instead referred to the
“perpetrator.” He concludes the jury did not find he discharged the firearm

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with the intent to kill. Defendant’s argument overlooks the rest of the special
circumstance instructions. CALJIC No. 8.80.1 instructed the jury as follows:
“If you find [the] defendant in this case guilty of murder of the first degree,
you must then determine if the following special circumstance [is] true or not
true: intentional discharge of a firearm from a motor vehicle.” (Italics added.)
CALJIC No. 8.83.1 also stated the jury could not find the special
circumstance true unless “the proved surrounding circumstances are not
only, (1) consistent with the theory that the defendant had the required
[specific intent] [mental state], but (2) cannot be reconciled with any other
rational conclusion.” (Italics added.) Defendant’s argument is accordingly
undermined by the record.
             For the foregoing reasons, the record demonstrates defendant is
ineligible for relief.


                                 DISPOSITION
             The postjudgment order is affirmed.




                                            SANCHEZ, J.

WE CONCUR:



BEDSWORTH, ACTING P. J.



MOORE, J.




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